Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document      Page 1 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document      Page 2 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document      Page 3 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document      Page 4 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document      Page 5 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document      Page 6 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document      Page 7 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document      Page 8 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document      Page 9 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 10 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 11 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 12 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 13 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 14 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 15 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 16 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 17 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 18 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 19 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 20 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 21 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 22 of 23
Case 22-00015-NGH   Doc 1    Filed 01/14/22 Entered 01/14/22 15:04:30   Desc Main
                            Document     Page 23 of 23
